            Case 3:19-mj-00399-BLM Document 1 Filed 01/29/19 PageID.1 Page 1 of 3



                            UNITED STATES DISTRICT COUR

                         SOUTHERN DISTRICT OF CALIFO



                       ARREST ON OUT-OF-DISTRICT OFFENSE

                                                                    CASE NUMBER:         1 9 MJ 0 3 9 9
The person charged as David Saavedra now appears before this United States District Court for an initial

appearance as a result of the following charges having been filed in the United States District Court for the

Central District of California with: Title 18 U.S.C § 3583 Violations of Conditions of Supervised Release




The charging documents and the warrant for the arrest of the defendant which was issued by the above United

States District Court are attached hereto. I hereby swear under penalty of perjury that the foregoing is true and

correct to the best of my knowledge, information, and belief.



DATED: 1/29/2019
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                                                               __ _,_. 1__-7.,;~~~-----(signature)
                                                             __v-r-
                                                                       Tony Gunn (print)
                                                                   Deputy United States Marshal
                     Case 3:19-mj-00399-BLM Document 1 Filed 01/29/19 PageID.2 Page 2 of 3



                 Case 2:18-cr-00171-FMO Documentll*SEALED*                                                                                                                             Filed 12/27/18 Page 1 of 3 Page ID
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